 Case 3:15-cv-00666-M Document 258 Filed 12/07/18                Page 1 of 12 PageID 7845


                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

NIC SALOMON,                                               §
                                                           §
        Plaintiff,                                         §
                                                           §
v.                                                         §       CIVIL ACTION NO.
                                                           §       3:15-CV-666-M
KROENKE SPORTS & ENTERTAINMENT,                            §
LLC, OUTDOOR CHANNEL HOLDINGS,                             §
INC., and PACIFIC NORTHERN CAPITAL LLC,                    §
                                                           §
        Defendants.                                        §

     DEFENDANTS KROENKE SPORTS & ENTERTAINMENT, LLC AND OUTDOOR
      CHANNEL HOLDINGS, INC.’S RESPONSE IN OPPOSITION TO PLAINTIFF’S
         MOTION TO EXCLUDE EXPERT TESTIMONY OF DAVID C. BUCK

        KROENKE SPORTS & ENTERTAINMENT, LLC (“KSE”) and OUTDOOR CHANNEL HOLDINGS,

INC. (“Outdoor,” collectively “Defendants”) submit this Response in opposition to Nic

Salomon’s (“Plaintiff”) Motion To Exclude Expert Opinions And Testimony Of David Buck

Pursuant To Federal Rule Of Evidence 702 (“Plaintiff’s 702 Motion”). Defendants maintain the

position stated in their Motion For Summary Judgment and Brief In Support (ECF #243 & #244)

that there is no dispute of material fact in this case and the Court should grant judgment to

Defendants as a matter of law. But if the Court determines that there are issues to be decided

regarding the meaning of the Term Sheet or fact issues that must be submitted to a jury, Mr.

Buck’s knowledge and experience in the area of corporate transactions will aid in resolving such

issues, such as by providing testimony on industry usage. See Sw. Bell Tele. Co. v. Fitch, 801 F.

Supp. 2d 555, 566 (S.D. Tex. 2011). Indeed, the Fifth Circuit upholds the use of expert

testimony in precisely that context, namely “to determine or explain ambiguous contracts or

contract terms.” Fluorine On Call, Ltd. v. Fluorogas Ltd., No., 2002 WL 34443530, at *2–3



Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Response In Opposition To Plaintiff’s Motion
To Exclude Expert Testimony
 Case 3:15-cv-00666-M Document 258 Filed 12/07/18                   Page 2 of 12 PageID 7846


(W.D. Tex. Sept. 27, 2002) (permitting expert to testify about “what the MOU is, what certain

MOU terms mean, what terms are not contained within the MOU” in the context of his industry

experience as an attorney having negotiated hundreds of agreements) (citing Toren v. Braniff,

Inc., 893 F.2d 763,765-66 (5th Cir. 1990) (relying on expert testimony to determine the meaning

of ambiguous terms in a lease); Willowood Condominium Assoc. v. HNC Realty Co., 531 F.2d

1249, 1251 (5th Cir. 1976) (relying on evidence regarding “ordinary business practices” to

determine whether parties had a “‘meeting of the minds’ necessary to the formation of a

contract.”)). In sum, Mr. Buck’s opinions and testimony are not, as Plaintiff claims, merely legal

conclusions but instead provide helpful context regarding industry custom and practice relevant

to provisions at issue in the Term Sheet and the overall context of complex corporate

transactions. Moreover, Mr. Buck’s opinions are grounded in uncontroverted facts, unlike the

wholly speculative opinions offered by Plaintiff’s proposed expert, Mr. Krietzman. For these

reasons Mr. Buck’s opinion and testimony can and should be admitted in the event of trial and

Plaintiff’s Rule 702 Motion should be denied.

                                            ARGUMENT

        The testimony of an expert with specialized knowledge or experience is admissible if it

will assist the trier of fact in understanding or resolving a disputed issue in the case. FED. R.

EVID. 702. Defendants present Mr. Buck as an expert in the area of public company merger and

acquisition transactions, experienced with term sheets and letters of intent, as well as the

fiduciary obligations of a public company’s officers and directors to the company’s shareholders.

(See Report of David C. Buck, ECF #250-1, Ex. A at 5–6). His opinions and testimony will

assist the trier of fact, if necessary, in resolving potentially complex or confusing issues relating

to the corporate transactions at the heart of this case.



Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Response In Opposition To Plaintiff’s Motion
To Exclude Expert Testimony                                                                2
 Case 3:15-cv-00666-M Document 258 Filed 12/07/18                 Page 3 of 12 PageID 7847


       Plaintiff does not challenge Mr. Buck’s knowledge or expertise in these areas, and indeed

refers to Mr. Buck as “highly credentialed.” (ECF #250, Plaintiff’s 702 Motion at 13). Rather,

Plaintiff goes on at length about the inadmissibility of legal conclusions in the form of expert

opinions, including the interpretation of unambiguous contracts. (Id. at 3–10). That argument is

premature until the Court rules on the ambiguity or interpretation of the contract provisions

relevant to this dispute. Moreover, expert testimony of the nature challenged by Plaintiff is

admissible for certain purposes even in the absence of an ambiguous contract. Plaintiff asserts

also that Mr. Buck’s report merely speculates as to the parties’ intentions at the time they

executed the Term Sheet. (Id. at 10–12). This too is incorrect; Mr. Buck’s report provides

helpful context for the trier of fact in determining what the parties intended with regard to the

Term Sheet, should that issue be submitted to the jury. Finally, Plaintiff argues that portions of

Mr. Buck’s report do not “fit” the issues involved in this case and also that his testimony may

mislead the jury. (Id. at 12–13). As explained below, these arguments also are without merit.

A.     MR. BUCK’S OPINIONS ARE HELPFUL TO RESOLVING QUESTIONS REGARDING THE
       TERM SHEET, INCLUDING THOSE THAT MAY BE SUBMITTED TO A JURY

       Defendants agree that under Texas law when a contract is unambiguous, extrinsic

evidence including expert testimony pertaining to meaning is inadmissible and interpretation

typically is confined to the four corners of the document. See Texas v. Am. Tobacco Co., 463

F.3d 399, 407 (5th Cir. 2006).      Indeed, it is Defendants’ position that the Term Sheet’s

Exclusivity section is unambiguous and that the plain language of the contract does not support

Plaintiff’s claims. (See Brief In Support Of Defendants’ Motion For Summary Judgment, ECF

#244 at 18–21). Plaintiff of course offers his own conflicting interpretation of the Exclusivity

section, (see, e.g., Plaintiff’s Brief In Opposition To Defendants’ Motion For Summary

Judgment, ECF #253 at 22–29), an interpretation which the words of the Term Sheet do not


Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Response In Opposition To Plaintiff’s Motion
To Exclude Expert Testimony                                                              3
 Case 3:15-cv-00666-M Document 258 Filed 12/07/18                 Page 4 of 12 PageID 7848


support. Nevertheless, the Court has not yet decided whether the meaning of the Term Sheet is

clear or if certain provisions are ambiguous.

       That said, Mr. Buck’s explanations of how certain terms within the Exclusivity section of

the Term Sheet are understood in the area of corporate transactions are admissible even prior to a

determination of whether the Term Sheet is ambiguous. “There is no requirement that an

agreement be ambiguous before evidence of a usage of trade can be shown.” Restatement

(Second) of Contracts § 222, cmt. b. Indeed, determining whether a contract is ambiguous is a

question of law for the Court, which requires considering the contract “in light of the

circumstances existing at the time of execution.” Sw. Bell Tele. Co. v. Fitch, 801 F. Supp. 2d

555, 566 (S.D. Tex. 2011). Such circumstances include “the commonly understood meaning in

the industry of a specialized term, which may be proven by extrinsic evidence such as expert

testimony or reference material.” Id. (quoting XCO Prod. Co. v. Jamison, 194 S.W.3d 622, 627–

28 (Tex. App.—Houston [14th Dist.] 2006, pet. denied) (internal quotation marks omitted). Mr.

Buck’s opinions regarding industry usage are thus admissible.

       Moreover, if the Court were to find some provision of the Term Sheet to be ambiguous,

extrinsic evidence would then be admissible to determine the parties’ intent. Am. Tobacco, 463

F.3d at 410. This includes expert testimony explaining ambiguous contract terms based on

industry experience and expertise. See Fluorine On Call, Ltd. v. Fluorogas Ltd., No., 2002 WL

34443530, at *2–3 (W.D. Tex. Sept. 27, 2002) (denying plaintiff’s motion to exclude

defendant’s expert and allowing the expert to testify regarding a memorandum of understanding

between the parties). In fact, Plaintiff himself acknowledges that extrinsic evidence of the

parties’ intent is admissible upon a finding that a contract is ambiguous. (See Plaintiff’s 702

Motion at 5 (citing Horn v. State Farm Lloyds, 702 F.3d 735, 738 (5th Cir. 2012))).



Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Response In Opposition To Plaintiff’s Motion
To Exclude Expert Testimony                                                              4
 Case 3:15-cv-00666-M Document 258 Filed 12/07/18                 Page 5 of 12 PageID 7849


       Mr. Buck’s knowledge and expertise thus are admissible to help clarify, if necessary, the

meaning and scope of the Term Sheet’s Exclusivity section. This requires consideration about

the drafting process as a factual matter, which should not be done in a vacuum. Mr. Buck’s

report provides commentary on what is customary for parties based on his experience in

regularly drafting these types of agreements, including summaries of principal issues that parties

consider (both under applicable law and risk allocations) when negotiating terms such as the

exclusivity provisions of the Term Sheet at issue in this case. He explains, for instance, why a

public company, such as Outdoor, typically would not bind itself to a position that would cause it

to breach fiduciary duties to its shareholders or agree to contract terms that immediately would

put the company in breach of the contract based on existing conditions and activities. (See

Report of David C. Buck at 13–16). A typical judge or jury may not know those customary set

of facts and the basis for drafting. Identifying those issues, and how they compare to the actual

language used by the parties, summarizes the real world transactional context, more than

litigators can offer in argument.

       Further, Mr. Buck’s testimony is helpful to clarifying technical terms within the Term

Sheet’s exclusivity section, including terms that may appear to have a straightforward meaning.

For example, in Liberty Media Corp. v. Vivendi Universal, S.A., 874 F. Supp. 2d 169, 175

(S.D.N.Y. 2012), the court allowed the introduction of expert testimony of Defendants’ M&A

expert after explaining that “[w]hile the jury may know what the terms ‘material,’ ‘adverse,’ and

‘change’ mean, an average juror will not understand their use in the context of an M & A

agreement.” Here, Mr. Buck’s knowledge and experience with term sheets, letters of intent, and

corporate transactions can help elucidate what is meant by technical terms within the Term Sheet

such as “sell” or “sale.” Mr. Buck’s report discusses the meaning of “sale” as compared to



Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Response In Opposition To Plaintiff’s Motion
To Exclude Expert Testimony                                                              5
 Case 3:15-cv-00666-M Document 258 Filed 12/07/18                 Page 6 of 12 PageID 7850


“merger,” based on his experience as well as summaries of applicable statutes, and his

knowledge of substantive different transactional steps taken in a “merger” versus the “sale” of

assets or stock. Those summaries and analysis are both trade and industry-specific terms that

help frame the reason why parties select specific words, and thus their intended meaning.

       Mr. Buck’s testimony also will assist the trier of fact, if necessary, in deciding whether

Defendants adhered to the Term Sheet’s Exclusivity provision. Plaintiff alleges that Outdoor

violated the Exclusivity section of the Term Sheet, which prohibited Outdoor from engaging in

certain activities such as discussing or agreeing to sell the Aerial Camera Business to a third

party. (See ECF #63, Plaintiff’s Second Amended Complaint, Ex. A at 3). The Exclusivity

section barred Outdoor from engaging in such activities either “directly or indirectly.” (Id.) The

parties dispute the meaning of these modifiers but regardless of whether they are ambiguous,

Defendants’ conformance with the Exclusivity section’s standards “is a question of fact that must

be answered by looking to the circumstances of the case, including the nature of the proposed

contract, the purposes of the parties, the course of dealing between them, and any relevant usages

of trade.” Ergon-West Virginia, Inc. v. Dynergy Mktg. & Trade, 706 F.3d 419, 425–26 (5th Cir.

2013) (holding that despite the district court mistakenly concluding that the relevant contract was

ambiguous, “it nevertheless correctly used extrinsic evidence to determine the parties’

understanding of the contract’s ‘reasonable dispatch’ clause,” including expert testimony)

(internal quotation marks omitted)).

       Mr. Buck’s testimony will help the trier of fact understand the nature of the transactions

and the parties’ conduct, and determine whether Defendants’ conduct supports any of the causes

of action Plaintiff asserts. At issue in this case are complex corporate transactions involving

public companies and their subsidiaries, including KSE’s acquisition of all Outdoor stock and



Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Response In Opposition To Plaintiff’s Motion
To Exclude Expert Testimony                                                               6
    Case 3:15-cv-00666-M Document 258 Filed 12/07/18               Page 7 of 12 PageID 7851


merger of Outdoor, which remained the parent of the Aerial Camera Business, into a KSE

subsidiary. Depending on what claims, if any, proceed to trial, the jury may need to determine

whether such a transaction constituted a “sale” of the Aerial Camera Business and if so, when

such a “sale” took place. Mr. Buck’s testimony based on his special knowledge and expertise in

this area has probative value as to these key issues.

        For example, in ProtoComm Corp. v. Novell Advanced Services, Inc., the court rejected

the plaintiff’s motion to exclude the testimony of an investment banker, attorney and CPA

experienced with corporate acquisitions, because they would be able to “help the trier of fact

determine issues most relevant to this case[ ],” which included “the characterization of complex

business transactions.”    171 F. Supp. 2d 473, 481–83 (E.D. Pa. 2001).            The experts in

ProtoComm opined on such issues as how to properly characterize a stock sale and the impact of

the relevant transactions on the rights of third parties. See id. Here, Mr. Buck’s expertise would

be helpful in determining whether the KSE acquisition of all Outdoor stock and merger with

Outdoor constituted a “sale” of the Aerial Camera Business within the meaning of the Term

Sheet’s Exclusivity section. Mr. Buck’s opinion explains that the term “sale” has a specific

meaning in the realm of corporate mergers and acquisitions, which does not comport with

Plaintiff’s theory that the Aerial Camera Business was sold to KSE in violation of the Term

Sheet’s Exclusivity provisions. (See Report of David C. Buck at 11–14). Moreover, even if the

transaction between KSE and Outdoor were deemed a “sale” of the Aerial Camera Business, Mr.

Buck’s knowledge and experience with the timing and process of complex business transactions

would assist the jury in determining if the “sale” occurred within the exclusivity period.1



1 The cases cited by Plaintiff in his Rule 702 Motion do not compel the exclusion of Mr. Buck’s
testimony in this case. In CEATS, Inc. v. TicketNetwork, Inc., No. 2:15-CV-01470-JRG-RSP,
2018 WL 457791, at *3 (E.D. Tex. Jan. 17, 2018), the court only precluded the defendant’s
Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Response In Opposition To Plaintiff’s Motion
To Exclude Expert Testimony                                                                   7
 Case 3:15-cv-00666-M Document 258 Filed 12/07/18                   Page 8 of 12 PageID 7852


B.     MR. BUCK’S OPINIONS ARE BASED ON FACT, NOT SPECULATION

       Plaintiff insists that Mr. Buck’s opinions be excluded “because they are rife with

speculation.” (Plaintiff’s 702 Motion at 10). To the contrary, and unlike Plaintiff’s own expert,

Mr. Buck’s report is based on facts obtained from deposition testimony, SEC filings, and other

evidence. (See Report of David C. Buck, Exhibit A).

       Plaintiff seems to suggest that expert testimony is never admissible for the purpose of

determining the intent of the parties to a contract. (See Plaintiff’s 702 Motion at 11 (arguing that

Mr. Buck’s opinions regarding usage of terms such as “sell” are “not a valid basis for expert

testimony”)). Plaintiff cites Cunningham v. Bienfang, No. Civ.A.3:00-CV-0448-L, 2002 WL

31553976, at *2–3 (N.D. Tex. Nov. 15, 2002), where the court determined that the relevant

contract was not ambiguous and that expert testimony was not needed otherwise. As already

noted, the Court has not yet determined in this case whether the Term Sheet is unambiguous. If

there is some ambiguity with respect to what the parties intended as to relevant provisions of the

Term Sheet, Mr. Buck’s knowledge and expertise regarding custom and usage will assist in

resolving these issues. See Liberty Media, 874 F. Supp. 2d at 175–77. Further, even if the Court

determines that it must exclude Mr. Buck’s specific conclusions regarding the meaning or scope

of the Term Sheet, his opinions and testimony relating to industry customs, norms, and usage

should be admitted. See id.



expert from testifying as to the meaning of a contract term that the relevant contract itself defined
and did not have an industry meaning. The court still permitted the expert to testimony as to
undefined contract terms like “seat map” that did have an industry meaning. See id.
STMicroelectronics, Inc. v. SanDisk Corp., No. 4:05cv45, 2007 WL 4532662, at *1 (E.D. Tex.
Jan. 24, 2007) is a short, three-paragraph order excluding an expert report that did “nothing more
than [provide] a legal discourse on how [the relevant] agreements should be interpreted.” There
is nothing to indicate that the expert report in that case resembled Mr. Buck’s report in any way.
As explained, Mr. Buck’s Report provides helpful context and opinion based on relevant
industry experience, not merely legal conclusions.
Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Response In Opposition To Plaintiff’s Motion
To Exclude Expert Testimony                                                                8
 Case 3:15-cv-00666-M Document 258 Filed 12/07/18                  Page 9 of 12 PageID 7853


       Moreover, Mr. Buck does not purport to know the actual state of mind of any party to the

Term Sheet. Defendants’ state of mind with respect to the meaning of the Term Sheet is

established directly by other evidence, including the deposition testimony of Outdoor’s former

officers involved in the negotiation and execution of the Term Sheet. Rather, Mr. Buck provides

reporting based on his industry experience as to what similarly situated parties would typically

agree to in terms of risk allocation and avoidance, including needs to avoid breaching other

fiduciary duties to stockholders. Mr. Buck’s reporting on those issues thus does not purport to

conclusively establish Defendants’ mindset, only that such a mindset would have been expected,

reasonable and appropriate under the circumstances based on Mr. Buck’s experience.

C.     MR. BUCK’S REPORT SATISFIES DAUBERT’S “FIT” REQUIREMENT

       In a further effort to exclude Defendants’ expert, Plaintiff claims that Mr. Buck’s

opinions do not “fit” with the facts of the case. (Plaintiff’s 702 Motion at 12 (citing Daubert v.

Merrell Dow Pharm., Inc., 509 U.S. 579, 591 (2003)). He argues that Mr. Buck’s discussion of

what Plaintiff’s interpretation of the Exclusivity section would mean vis-à-vis the proposed

merger plan between Outdoor and InterMedia is irrelevant because his claims are not based on

that transaction.   Plaintiff says the same about Mr. Buck’s explanation of the restrictions

Plaintiff’s reading would have imposed on Outdoor’s ability to sell even one share of its own

publicly-traded stock. However, Plaintiff’s contention that it is “irrelevant” or “confusing” to

highlight the absurdity resulting from his flawed interpretation of the Term Sheet is incorrect.

       Under Texas law, courts are required to interpret contract provisions “so as to avoid

meanings that produce unreasonable, oppressive, or absurd results.” Mid-Continent Cas. Co. v.

Bay Rock Operating Co., 614 F.3d 105, 114 (5th Cir. 2010).               They routinely consider

hypothetical scenarios, such as the ones described by Mr. Buck, when considering whether a



Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Response In Opposition To Plaintiff’s Motion
To Exclude Expert Testimony                                                                9
Case 3:15-cv-00666-M Document 258 Filed 12/07/18                  Page 10 of 12 PageID 7854


proffered contract interpretation would lead to absurd results. See Illinois Tool Works, Inc. v.

Harris, 194 S.W.3d 529, 537 (Tex. App.—Houston [14th Dist.] 2006, no pet.).

       Mr. Buck’s Report explains, based on his industry expertise and experience, what the

practical result of Plaintiff’s interpretation of the Term Sheet would be and why that result would

be absurd and not what the parties intended. His Report shows that if Plaintiff’s interpretation of

the Term Sheet is correct, then Outdoor would have been in breach of the Exclusivity section the

moment it was signed, an absurd and unreasonable result that the parties could not have

intended. The implausibility of Plaintiff’s interpretation is an issue of paramount importance in

this case. Mr. Buck’s opinions and testimony illustrating that implausibility thus are directly

relevant and should not be excluded.

D.     MR. BUCK’S TESTIMONY WILL NOT “MISLEAD” THE JURY

       Finally, Plaintiff argues that Mr. Buck should be precluded from testifying at trial under

FEDERAL RULE OF EVIDENCE 403 because he will “likely…confuse the issues and mislead the

jury.” (Plaintiff’s 702 Motion at 13). However, Plaintiff does nothing to plausibly explain how

Mr. Buck will “confuse” or “mislead” the jury. Plaintiff merely rehashes the same arguments

relating to an expert’s role in contract interpretation and suggests that the jury will be misled by

the mere fact that Mr. Buck is a “highly credentialed expert.” (Id.) The Court will be able to

instruct the jury effectively as to the purpose of Mr. Buck’s testimony and the weight it should be

given, and the jury ought to be capable of following such instructions. Accordingly, there is no

reason to preclude Mr. Buck from testifying under Rule 403.

                                         CONCLUSION

       For the foregoing reasons, Defendants request that Plaintiff’s Motion To Exclude Expert

Opinions And Testimony Of David Buck Pursuant To Federal Rule Of Evidence 702 be denied.



Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Response In Opposition To Plaintiff’s Motion
To Exclude Expert Testimony                                                              10
Case 3:15-cv-00666-M Document 258 Filed 12/07/18            Page 11 of 12 PageID 7855


Respectfully submitted,

Date: December 7, 2018                   By:    s/Kevin D. Evans
                                                Kevin D. Evans
                                                Admitted pro hac vice
                                                Nicholas W. Dowd
                                                Admitted pro hac vice
                                                ARMSTRONG TEASDALE LLP
                                                4643 South Ulster Street, Suite 800
                                                Denver, CO 80237
                                                Telephone: 720.200.0676
                                                Facsimile: 720.200.0679
                                                Email: kdevans@armstrongteasdale.com
                                                        ndowd@armstrongteasdale.com

                                                and

                                                Paul C. Watler
                                                State Bar No. 00784334
                                                Shannon Zmud Teicher
                                                State Bar No. 24047169
                                                JACKSON WALKER L.L.P.
                                                2323 Ross Avenue, Suite 600
                                                Dallas, Texas 75201
                                                Telephone: 214.953.6000
                                                Facsimile: 214.953.5822
                                                Email: pwatler@jw.com
                                                        steicher@jw.com

                                                Attorneys for Defendants KROENKE SPORTS
                                                & ENTERTAINMENT, LLC and
                                                OUTDOOR CHANNEL HOLDINGS, INC.




Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Response In Opposition To Plaintiff’s Motion
To Exclude Expert Testimony                                                   11
Case 3:15-cv-00666-M Document 258 Filed 12/07/18                Page 12 of 12 PageID 7856


                                  CERTIFICATE OF SERVICE

        This is to certify that on this 7th day of December, 2018, I caused the foregoing
DEFENDANTS KROENKE SPORTS & ENTERTAINMENT, LLC AND OUTDOOR
CHANNEL HOLDINGS, INC.’S RESPONSE IN OPPOSITION TO PLAINTIFF’S
MOTION TO EXCLUDE EXPERT TESTIMONY to be electronically submitted with the
Clerk of Court for the U.S. District Court, Northern District of Texas, using the electronic case
filing system of the Court.


                                                           /s/Kevin D. Evans
                                                           Kevin D. Evans




Defendants KROENKE SPORTS & ENTERTAINMENT, LLC And OUTDOOR
CHANNEL HOLDINGS, INC.’s Response In Opposition To Plaintiff’s Motion
To Exclude Expert Testimony                                                            12
